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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            4:08CR3022
                                             )
                      Plaintiff,             )
                                             )
       vs.                                   )
                                             )            ORDER
TABATHA ADAMS,                               )
                                             )
                      Defendant.             )

       IT IS ORDERED that:


       (1)     The defendant’s motion to continue sentencing and extend motion deadline
(filing 81) is granted.


       (2)     The defendant’s motion deadline is reset to February 24, 2009.


       (3)     Defendant Adams’ sentencing is continued to Tuesday, March 3, 2009, at
12:30 p.m., before the undersigned United States district judge, in Courtroom No. 1, United
States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska. The
defendant shall be present unless excused by the court.


       February 18, 2009.                 BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
